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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
______________________________
                               )
CITIZENS UNITED,               )
                               )
                  Plaintiff,   )
                               )
v.                             )   Civil Docket No. 1:16-CV-00423-APM
                               )
UNITED STATES                  )
DEPARTMENT OF STATE,           )
                               )
                  Defendant.   )
_____________________________ )

             JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), with the concurrence of both

parties hereto, Plaintiff Citizens United dismisses the above-captioned suit without prejudice,

with each side to bear its own fees and costs.



       Dated: November 13, 2018       Respectfully submitted,

    /s/ Jeremiah L. Morgan                       JOSEPH H. HUNT
    Jeremiah L. Morgan                           Assistant Attorney General
    (D.C. Bar No. 1012943)
    Robert J. Olson                              MARCIA BERMAN
    (D.C. Bar No. 1029318)                       Assistant Branch Director
    William J. Olson                             Federal Programs Branch
    (D.C. Bar No. 233833)
    William J. Olson, P.C.                       /s/ Kevin M. Snell
    370 Maple Avenue, West, Suite 4              KEVIN M. SNELL
    Vienna, VA 22180-5615                        Trial Attorney
    703-356-5070 (telephone)                     United States Department of Justice
    jmorgan@lawandfreedom.com                    Civil Division, Federal Programs Branch
                                                 1100 L St. NW
    Counsel for Plaintiff                        Washington, D.C. 20005
                                                 Tel.: (202) 305-0924
                                                 Fax: (202) 616-8460
                                                 E-mail: Kevin.Snell@usdoj.gov
